             IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION

UNITED STATES OF AMERICA                   :      CASE NO. 3:19-mj-498

              Plaintiff                    :

vs.                                        :      Thomas M. Rose

ETHAN KOLLIE                               :

              Defendant                    :

______________________________________________________________

                    REQUEST FOR ORAL HEARING
___________________________________________________________________

       Now comes Defendant Ethan Kollie, by and through undersigned

counsel pursuant and respectfully requests an Oral Hearing regarding the

revocation of the detention order.




                                     Respectfully submitted,

                                     /s/Nicholas G. Gounaris
                                     Nicholas G. Gounaris (0064527)
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                                    /s/Antony A. Abboud
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                       CERTIFICATE OF SERVICE

       I hereby certify that I will electronically file the foregoing with the
Clerk of Court using the CM/ECF system, which will then send a
notification of such filing to all parties of record.


                                    /s/Nicholas G. Gounaris
                                    Nicholas G. Gounaris (0064527)
